Case 4:24-cv-00390-SHL-HCA Document 40-3 Filed 11/05/24 Page 1of2

UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF IOWA

ORCUN SELCUK et al.,
CASE NO. 4:24-cv-390

Plaintiffs,

Vv. DECLARATION OF

SHAYLA McCORMALLY

PAUL D. PATE et al.,
Defendants.
I, Shayla McCormally, declare as follows:

1. The facts contained in this declaration are known personally to me and, if

called as a witness, I could and would testify competently thereto under oath.

2: I am an attorney with the law firm of McCormally & Cosgrove, P.L.L.C.
who represents the lowa Democratic Party.

3, As part of our voter protection program, we tried to ascertain information
from the auditors related to the directive from the Iowa Secretary of State’s challenge of
2,176 voters as possible non-citizens of the United States.

4. On Monday, November 4, 2024, I e-mailed the Iowa Secretary of State’s
office and Director of Elections, Wes Hickock, requesting the same information
(explaining the different answers our office received) to obtain clarity on the documents
that would be accepted as proof of citizenship, if the documents would be accepted at the

polling location and if provisional ballots would still be required.
Case 4:24-cv-00390-SHL-HCA Document 40-3 Filed 11/05/24 Page 2 of 2

5: I also submitted this inquiry into iVote, but we have not received a
response from either inquiry.

6. As part of the Iowa Democratic Party’s voter protection efforts, I am part
of a group of attorneys taking calls regarding voter issues on Election Days.

7. We received a call from a voter in Lee County who was told that a
passport was not evidence of being a United States citizen.

8. I called the Lee County Auditor’s office and spoke with a staff person.
During my conversation, she stated that anyone can obtain a passport and an individual
did not need to be a citizen to obtain a United States passport. The worker appeared to be
responsive to fixing this misperception.

9, In accordance with 28 U.S.C. § 1746 and under penalty of perjury, I swear

that the foregoing is true and correct.

Executed on November 5, 2024 in Des Moines, Iowa.

lis ne
